Case 1:20-mc-00199-JGK-OTW Document 103-8 Filed 09/13/21 Page 1 of 6




                   Exhibit 8
   Case 1:20-mc-00199-JGK-OTW Document 103-8 Filed 09/13/21 Page 2 of 6


From:               Rosenthal, Jeffrey A.
To:                 jzh@hellerstein-law.com
Cc:                 Mgaloblishvili, Leila; Vicens, Elizabeth (Lisa); Balter, Emily; Levander, Samuel
Subject:            Re: Perfectus
Date:               Monday, August 30, 2021 9:58:18 AM


Mazel tov, Joe.

But what does that mean? This has been lingering for a while and your track record has not
demonstrated responsiveness to us before. Please propose a time for a call today, tomorrow or
Wednesday and we will hold off contacting the court.

—
Jeffrey A. Rosenthal
Cleary Gottlieb Steen & Hamilton LLP
Assistant: mconiglio@cgsh.com  
One Liberty Plaza, New York NY 10006
T: +1 212 225 2086 | M: +1 917 696 7377
jrosenthal@cgsh.com  | clearygottlieb.com




       On Aug 30, 2021, at 9:51 AM, jzh@hellerstein-law.com wrote:


       ﻿
       So sorry. I am at my son's wedding now. Please be patient.




       On Aug 30, 2021 15:58, "Mgaloblishvili, Leila" <lmgaloblishvili@cgsh.com>
       wrote:

           Joe,



           We are following up regarding the below. Unless we hear from you by the
           close of business tomorrow, we plan to write to the Court on this matter.



           Best,

           Leila



           —
           Leila Mgaloblishvili
Case 1:20-mc-00199-JGK-OTW Document 103-8 Filed 09/13/21 Page 3 of 6



     Cleary Gottlieb Steen & Hamilton LLP
     One Liberty Plaza, New York NY 10006
     T: +1 212 225 2607
     lmgaloblishvili@cgsh.com | clearygottlieb.com




     From: Mgaloblishvili, Leila <lmgaloblishvili@cgsh.com>
     Sent: Tuesday, August 24, 2021 12:41 PM
     To: jzh@hellerstein-law.com
     Cc: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Vicens, Elizabeth (Lisa)
     <evicens@cgsh.com>; Balter, Emily <ebalter@cgsh.com>; Levander, Samuel
     <slevander@cgsh.com>
     Subject: RE: Perfectus



     Joe,



     We are following up regarding the deficiencies in Perfectus’s productions.



     As you are aware, in our motion to compel production by Perfectus, which the
     Court granted in full on May 22, 2021, ECF No. 91, 2021, we identified a
     number of gaps in Perfectus’s productions, including but not limited to the
     absence in whole or in part of:

 ·        Communications between Perfectus and other BSG Entities (Request 3);

 ·        Perfectus’s complete set of bank records and tax filings (Requests 4, 5, and 12);

 ·        Perfectus’s board meeting minutes (Request 6);

 ·        Perfectus’s financial statements (Request 7);

 ·        Perfectus’s current corporate organizational chart (Request 8); and

 ·        Due diligence documents related to Perfectus’s real estate investments (Request
         14).

 ·        Documents covering the full date range of Vale’s production requests,
         including documents from 2010 and through August 2020.



     Perfectus’s latest production continues to suffer from the same defects. In
Case 1:20-mc-00199-JGK-OTW Document 103-8 Filed 09/13/21 Page 4 of 6


    addition, your production is facially deficient because Perfectus has failed to
    provide attachments to the emails included in the production, contains
    unspecified redactions without a corresponding redactions or privilege log, and
    appears to contain a number of documents which were forwarded in previous
    years and have their sender and recipient unspecified. We would like to discuss
    the timeframe for Perfectus to complete its long overdue production and certain
    questions pertaining to the documents you have provided.



    Please let us know you availability for a call to discuss this week, as we would
    like to resolve this consensually without having to report noncompliance to
    Judge Wang.



    Best,

    Leila

    —
    Leila Mgaloblishvili

    Cleary Gottlieb Steen & Hamilton LLP
    One Liberty Plaza, New York NY 10006
    T: +1 212 225 2607
    lmgaloblishvili@cgsh.com | clearygottlieb.com




    From: Levander, Samuel <slevander@cgsh.com>
    Sent: Wednesday, June 23, 2021 4:07 PM
    To: Joe Hellerstein <jzh@hellerstein-law.com>; Rosenthal, Jeffrey A.
    <jrosenthal@cgsh.com>
    Cc: Vicens, Elizabeth (Lisa) <evicens@cgsh.com>; Balter, Emily
    <ebalter@cgsh.com>; Mgaloblishvili, Leila <lmgaloblishvili@cgsh.com>
    Subject: RE: Perfectus



    Joe,



    We confirm that we received documents from you on Monday.



    Is your representation that your production is now complete? Does the
    production include each of the categories of documents identified on p. 3 of
Case 1:20-mc-00199-JGK-OTW Document 103-8 Filed 09/13/21 Page 5 of 6


    Vale’s motion to compel (ECF No. 88), as so-ordered by the Court yesterday
    (ECF No. 91)? If the production is not complete, what categories of documents
    have you produced and what categories of documents do you still need to
    produce?



    Best regards,

    Sam

    —
    Samuel Levander

    Cleary Gottlieb Steen & Hamilton LLP
    Assistant: mdigiaro@cgsh.com  
    One Liberty Plaza, New York NY 10006
    T: +1 212 225 2951
    slevander@cgsh.com | clearygottlieb.com




    From: Joe Hellerstein <jzh@hellerstein-law.com>
    Sent: Tuesday, June 22, 2021 4:55 AM
    To: Rosenthal, Jeffrey A. <jrosenthal@cgsh.com>; Levander, Samuel
    <slevander@cgsh.com>
    Cc: Joe Hellerstein <jzh@hellerstein-law.com>
    Subject: RE: Perfectus



    Jeff, Sam,



    Please confirm that you received the documents. Thanks.



    Joe




    From: Joe Hellerstein
    Sent: Monday, June 21, 2021 6:54 PM
    To: Saenz, Andres
    Cc: Rosenthal, Jeffrey A.; Vicens, Elizabeth (Lisa) <evicens@cgsh.com>;
Case 1:20-mc-00199-JGK-OTW Document 103-8 Filed 09/13/21 Page 6 of 6


    Balter, Emily <ebalter@cgsh.com>; Levander, Samuel; Mgaloblishvili, Leila
    <lmgaloblishvili@cgsh.com>
    Subject: Perfectus




    Attached please find Respondents documents in response to the subpoenas and
    Petitioners’ motion to compel production.



    Joseph Z. Hellerstein

    Hellerstein & Co.

    Israel 972-52-420-1114

    US 561-367-2569




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